       Case 2:13-cr-06054-EFS           ECF No. 397        filed 11/10/16     PageID.1164 Page 1 of 2
 PROB 12C                                                                         Report Date: November 10, 2016
(6/16)

                                       United States District Court                                  FILED IN THE
                                                                                                 U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                            Nov 10, 2016
                                        Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brandon Scott Langford                   Case Number: 0980 2:13CR06054-EFS-4
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: July 15, 2014
 Original Offense:        Conspiracy and Aiding and Abetting Bank Fraud, 18 U.S.C. § 1344, 371 and 2; Bank
                          Fraud, 18 U.S.C. § 1344(2);
 Original Sentence:       Prison 7 days; TSR - 36 days      Type of Supervision: Supervised Release
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: July 15, 2014
 Defense Attorney:        Alex B. Hernandez, III            Date Supervision Expires: July 14, 2017


                                         PETITIONING THE COURT

                To incorporate the violation contained in this petition in future proceedings with the
violations previously reported to the Court on 08/12/2016.

The probation officer believes that the offender has violated the following condition of supervision:


Violation Number        Nature of Noncompliance

            5           Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                        shall not purchase, possess, use, distribute, or administer any controlled substance or any
                        paraphernalia related to any controlled substance, except as prescribed by a physician.

                        Supporting Evidence: On October 24, 2016, the defendant provided a random urinalysis
                        which tested presumptive positive for the presence of opiates. On November 2, 2016, the
                        sample was confirmed positive for the presence of morphine. The defendant stated he was
                        not taking any medication at the time.



                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     November 10, 2016
                                                                             David L. McCary
                                                                             David L. McCary
                                                                             U.S. Probation Officer
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Prob12C
Re: Langford, Brandon Scott
November 10, 2016
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 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ X]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                    Signature of Judicial Officer

                                                                           November 22, 2016
                                                                    Date
